            Case 1:21-cr-10018-PBS Document 85 Filed 12/12/21 Page 1 of 3




                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS

____________________________________
                                    )
UNITED STATES OF AMERICA            )
                                    )
      v.                            )                 Criminal No. 21-cr-10018-PBS
                                    )
GANG CHEN                           )
                                    )
                                    )
      Defendant.                    )
____________________________________)


                  PROFESSOR GANG CHEN’S UNOPPOSED MOTION TO
                  MODIFY PRETRIAL CONDITIONS TO ALLOW TRAVEL
                                TO CALIFORNIA

          Professor Gang Chen respectfully requests this Court modify his conditions of pretrial

release to allow him to travel to California on December 15 through December 27 to visit family.

Professor Chen has alerted U.S. Probation of the travel and will check in with U.S. Probation as

prescribed by that office. The Government has informed counsel that they do not object to the

travel.
      Case 1:21-cr-10018-PBS Document 85 Filed 12/12/21 Page 2 of 3




                                             Respectfully submitted,

                                             GANG CHEN


                                             By his attorneys,

                                             /s/ Robert A. Fisher
                                             Robert A. Fisher (BBO No. 652602)
                                             Brian T. Kelly (BBO No. 549566)
                                             R. Scott Seitz (BBO No. 696658)
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Dated: December 12, 2021




                                    2
          Case 1:21-cr-10018-PBS Document 85 Filed 12/12/21 Page 3 of 3




                         LOCAL RULE 7.1(A)(2) CERTIFICATION

        I hereby certify that I conferred with counsel for the government in an attempt to resolve
or narrow the issues raised by this motion and the government has notified me that it does not
oppose the motion.


                                                             /s/ Robert A. Fisher



                                 CERTIFICATE OF SERVICE

I hereby certify that a copy of the forgoing was filed electronically on December 12, 2021, and
thereby delivered by electronic means to all registered participants as identified on the Notice of
Electronic Filing.


                                                             /s/ Robert A. Fisher




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